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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

UNITED STATES OF AMERICA                                    §
                                                            §
                                                            §
v.                                                          §            CRIMINAL ACTION H-14-47-3
                                                            §
                                                            §
TARMERA RENEE WYCKOFF,                                      §
A /K /A TONI WYCKOFF on bond                                §

                                      MEMORANDUM OPINION & ORDER

         Pending before the court is defendant Tarmera Renee Wyckoff, a/k/a Toni Wyckoff’s (“Toni”)

motion to sever. Dkt. 41. After considering the indictment, motion, the government’s response (Dkt.

43), and the applicable law, Toni’s motion to sever (Dkt. 41) is DENIED.

                                                 I. BACKGROUND 1

         This is a tax fraud case in which the United States alleges that Toni conspired with Cheryl Reed

Johnson (“Cheryl”) and Carey Jermaine Johnson, a/k/a Jermaine Johnson (“Jermaine”) from November

2008 through July 2010 to fraudulently obtain tax refunds from the Internal Revenue Service (“IRS”).

Dkt. 1 (indictment) at 1–3 ¶¶ 1–4. Specifically, Cheryl submitted Forms 1040 (through TurboTax and

other tax preparation software) in the names of various individuals and received refunds directly from

the IRS. Id. at 1–2 ¶ 1. Jermaine recruited individuals for the purpose of fraudulently filing their

returns. Id. at 2 ¶ 2. Toni also submitted Forms 1040 in the names of various individuals, received

refunds from the IRS, and established bank accounts into which the refunds would be received by wire

or ACH transfer. Id. at 2 ¶ 3.




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           The court recites the facts as alleged in the indictment for purposes of analyzing the motion to sever. This
discussion should not be construed as a commentary on the veracity of any allegation contained in the charging instrument.
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       In furtherance of the alleged conspiracy, the indictment states several overt acts. For instance,

with regard to property situated at 8926 Rolling Rapids, Humble, Texas (the “Rolling Rapids

property”), Cheryl and Jermaine caused a 2008 tax return to be filed in January 2009, in the name of

C.J.J., claiming a first-time homebuyer credit. Id. at 5 ¶ 3. Then, on February 22, 2009, Cheryl caused

a 2008 tax return to be filed in the name of S.O. claiming a first-time homebuyer credit for the same

Rolling Rapids property. Id. at 6 ¶ 6. Three days later, on February 25, 2009, Cheryl caused a 2008

tax return to be filed in the name of D.J. claiming a first-time homebuyer credit for the Rolling Rapids

property. Id. at 6 ¶ 9. On March 23 and April 1, 2009, Toni similarly caused two tax returns to be filed

in the names of E.B. and R.M., respectively, claiming first-time homebuyer credits for the Rolling

Rapids property. Id. at 7 ¶¶ 15, 17. The indictment alleges a similar scheme of claimed credits in

returns filed by Cheryl and Toni as to real property situated at 10506 Hollyglen, Houston, Texas. Id.

at 5–6 ¶¶ 4, 8 (Cheryl’s alleged acts); id. at 8 ¶¶ 23–24 (Toni’s alleged acts).

       On January 30, 2014, the grand jury returned its indictment. Dkt. 1. The indictment charges

twenty-three conspiracy and fraud counts against the defendants, eighteen of which are charged against

Toni. Those charges are: (1) Count One – Conspiracy (18 U.S.C. § 1349); (2) Count Two –

Conspiracy to Make False Claims to the IRS (18 U.S.C. §286); (3) Counts Eight Through Eleven –

Wire Fraud (18 U.S.C. § 1343); (4) Counts Twelve Through Twenty-Three — False Claims for Tax

Refunds (18 U.S.C. § 287). Id. at 1–14.

       On February 13, 2014, Toni was arrested and made an initial appearance before Magistrate

Judge George Hanks. Dkt. 10. Toni was arraigned on February 18, 2014, and she entered a plea of Not

Guilty as to all counts. Dkt. 22. On March 5, 2014, Toni filed the instant motion to sever her trial from

the trial of Cheryl and Jermaine. Dkt. 41. Toni claims that a severance is warranted for the following



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reasons: (1) the conduct alleged against her and her co-defendants is not based on the same transaction

nor is it part of a common scheme; (2) certain counts in the indictment are not alleged against Toni and

would prejudice her right to a fair trial for the counts alleged against her; and (3) Cheryl’s prior

convictions, if introduced as evidence in this case, would prejudice Toni’s rights. Id. at 1–2.

         The government responded to the motion to sever on March 10, 2014. Dkt. 43. The

government contends that the indictment is proper under Rule 8 of the Federal Rules of Criminal

Procedure, which permits multiple defendants to be charged in one or more counts together or

separately. Id. at 4; FED . R. CRIM . P. 8(b). The government further alleges that Toni has not shown

a serious risk of unfair prejudice to a joint trial because the indictment need not charge every defendant

as to the same act or acts but may charge a larger scheme or conspiracy for which all defendants are

criminally liable. Dkt. 43 at 4–5.

                                         II. LEGAL STANDARD

         Rule 8(b) of the Federal Rules of Criminal Procedure states that “[t]he indictment or

information may charge 2 or more defendants if they are alleged to have participated in the same act

or transaction or in the same series of acts or transactions, constituting an offense or offenses.” FED .

R. CRIM . P. 8(b). There is a preference in federal court for one trial of jointly-indicted defendants.

Zafiro v. United States, 506 U.S. 534, 537, 113 S. Ct. 933 (1993). However, this preference may be

overcome if a joint trial may prejudice either a defendant or the government. Id. at 538. Rule 14

provides: “If the joinder of offenses or defendants in an indictment, an information, or a consolidation

for trial appears to prejudice a defendant or the government, the court may order separate trials of

counts, sever the defendants’ trials, or provide any other relief that justice requires.” FED . R. CRIM . P.

14(a).



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        The court possesses considerable discretion under Rule 14, and denial of a motion to sever will

only be reversed upon an abuse of that discretion. United States v. Neal, 27 F.3d 1035, 1045 (5th Cir.

1994). The Fifth Circuit has reiterated the general rule “that persons indicted together should be tried

together, especially in conspiracy cases.” United States v. Pofahl, 990 F.2d 1456, 1483 (5th Cir. 1993).

Therefore, “when defendants properly have been joined under Rule 8(b), a district court should grant

a severance only if there is a serious risk that a joint trial would compromise a specific trial right of one

of the defendants, or prevent the jury from making a reliable judgment about guilt or innocence.”

Zafiro, 506 U.S. at 539. On appeal, the Fifth Circuit will reverse the district court’s denial only if there

is a showing of (1) compelling prejudice from the denial of severance; and (2) that such prejudice

outweighs “the government’s interest in economy of judicial administration.” United States v.

Buckhalter, 986 F.2d 875, 876 (5th Cir. 1993); United States v. Arzola-Amaya, 867 F.2d 1504, 1516

(5th Cir. 1989) (“Reversal is warranted only when the [defendant] can demonstrate compelling

prejudice against which the trial court was unable to afford protection.”).

                                              III. ANALYSIS

        In this case, Toni essentially argues that a failure to sever would result in substantial prejudice

on two grounds: (1) the differences in her alleged conduct from that of her co-defendants are so great

as to prevent a fair trial; and (2) the potential admission of Cheryl’s prior convictions would prevent

a fair determination of guilt or innocence by the jury. Dkt. 41 at 1–2. The court examines each of these

contentions in turn.

        First, Toni argues that her transactions were distinct from those of her co-defendants, and her

conduct was not part of a common scheme or plan. Id. However, Rule 8 is broadly construed in favor

of initial joinder, and the transaction requirement merely requires a “logical relationship.” United



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States v. Butler, 429 F.3d 140, 147 (5th Cir. 2005). Here, there is a logical relationship between the

conduct alleged against the defendants, much of which is connected through overlapping claims of

fraud related to the same homes. As alleged, this conduct also forms part of a common scheme or plan

to defraud the IRS through multiple false tax-credit entitlements for the same properties.

       Second, Toni contends that without a severance, she will suffer spillover prejudice if the jury

is made aware of Cheryl’s prior convictions. Dkt. 41 at 1. However, without more, this argument is

insufficient to show a danger of substantial prejudice to Toni. There has been no showing that the jury

will be unable to compartmentalize the evidence as it relates to each defendant, especially if the court

administers proper cautionary and limiting instructions regarding the jury’s consideration of particular

evidence, including any prior convictions of one or more defendants. United States v. Solis, 299 F.3d

420, 441 (5th Cir. 2002). These contentions do not warrant a departure from the traditional rule of

trying co-conspirators together in one trial.

                                          IV. CONCLUSION

       Because Toni has failed to show a substantial risk of unfair prejudice in a joint trial, her Rule

14 motion to sever (Dkt. 41) is hereby DENIED.

       Signed at Houston, Texas on March 13, 2014.




                                                             Gray H. Miller
                                                       United States District Judge




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